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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                    Debtors. 1                         (Jointly Administered)


                             NOTICE OF AUCTION FOR THE DEBTORS’
                           JVN, STRIPES, AND ROSE, INC. BRAND ASSETS

       PLEASE TAKE NOTICE: that October 16, 2023, the Bankruptcy Court entered the Bid
Procedures Order [Docket No. 553], approving the Bid Procedures.2 On November 30 and
December 1, 2023, the Debtors held an auction with respect to certain of their Operating Consumer
Brands. The Brand Assets of the JVN, Stripes, and Rose, Inc. Operating Consumer Brands (the
“Remaining Consumer Brands”) did not have any Qualified Bids as of the end of such auction
and, accordingly the Remaining Consumer Brands are Unsold Assets.

        PLEASE TAKE FURTHER NOTICE: that, pursuant to the Bid Procedures Order, the
Debtors, after consultation with the Consultation Parties, have determined to hold an auction
commencing on December 13, 2023 at 2:00 p.m. (Eastern Time) (the “Auction”) to determine
the highest and best offer for the Remaining Consumer Brands, as determined by the Debtors in
their reasonable business judgment, after consultation with the applicable Consultation Parties.
The Auction will be governed by the Bid Procedures attached to the Bid Procedures Order.

       PLEASE TAKE FURTHER NOTICE: that the Debtors, after consultation with the
Consultation Parties, have determined to designate Windsong Global, LLC (the “JVN Stalking
Horse Bidder”) as the Stalking Horse Bidder for the JVN Brand Assets pursuant to the Asset
Purchase Agreement attached hereto as Exhibit A (the “JVN Stalking Horse APA”).

        PLEASE TAKE FURTHER NOTICE: that the Auction will be conducted via Zoom
virtual meeting technology. Only Qualified Bidders that have submitted Qualified Bids are
eligible to participate at the Auction. Only the authorized representatives and professional advisors
of each of the Qualified Bidders, the Debtors, the Consultation Parties (including members of the
Committee), and the United States Trustee for the District of Delaware shall be permitted to attend
the Auction. Parties permitted to attend the Auction who wish to do so must contact Intrepid, the


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     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
     place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
     Emeryville, CA 94608.
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     Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Bid Procedures
     Order or, as applicable, the Bid Procedures attached thereto as Exhibit A.



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Debtors’ investment banker, at ProjectCana@IntrepidIB.com no later than December 12, 2023
at 12:00 p.m. (Eastern Time).

        PLEASE TAKE FURTHER NOTICE: that commencing on December 13, 2023 at 1:30
p.m. (Eastern Time), Qualified Bidders and their professionals are requested to join the Zoom
virtual meeting. Each Qualified Bidder will be asked to select one participant to serve as the
spokesperson, and such spokesperson shall be the only person authorized to submit a Bid on the
Qualified Bidder’s behalf at the Auction. Additional Auction procedures may be announced at or
prior to the Auction. A court reporter will be present in the Zoom virtual meeting and the Auction
will be recorded.

       PLEASE TAKE FURTHER NOTICE: that Bidders are urged to ensure that they have
the technical ability to participate via the Zoom platform. The Zoom application can be
downloaded at https://zoom.us/download and is also available for Apple products via the App
Store.

       PLEASE TAKE FURTHER NOTICE: that the Debtors reserve the right to modify the
Bid Procedures in their reasonable business judgment after consultation with the applicable
Consultation Parties (all in accordance with the Bid Procedures Order), and any changes to the
Auction procedures will be announced at the Auction. The Debtors reserve the right to cancel,
adjourn, or continue the Auction with respect to all or any portion of the Remaining Consumer
Brands.

        PLEASE TAKE FURTHER NOTICE: that copies of the Bid Procedures Order, the Bid
Procedures, the Contract and Lease Procedures, and any other documents related thereto are
available for review free of charge through the Debtors’ noticing agent Stretto at
https://cases.stretto.com/amyris.

 Dated: December 10, 2023                        PACHULSKI STANG ZIEHL & JONES LLP

                                                 /s/ Steven W. Golden
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                                                 Debra I. Grassgreen (admitted pro hac vice)
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                                                 Counsel to the Debtors and Debtors in Possession




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